Case 8:11-cr-00293-JSM-E_J Document 60 Filed 09/05/12 Page 1 of 6 PageID 136
Case 8:11-cr-00293-JSM-E_J Document 60 Filed 09/05/12 Page 2 of 6 PageID 137
Case 8:11-cr-00293-JSM-E_J Document 60 Filed 09/05/12 Page 3 of 6 PageID 138
Case 8:11-cr-00293-JSM-E_J Document 60 Filed 09/05/12 Page 4 of 6 PageID 139
Case 8:11-cr-00293-JSM-E_J Document 60 Filed 09/05/12 Page 5 of 6 PageID 140
Case 8:11-cr-00293-JSM-E_J Document 60 Filed 09/05/12 Page 6 of 6 PageID 141
